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                                                      U.S. Department of Justice


                                                      United States Attorney
                                                      Eastern District of New York
AFM/EHS/AA                                            271 Cadman Plaza East
F. #2022R00315                                        Brooklyn, New York 11201



                                                      October 2, 2024

By Email and ECF

The Honorable Frederic Block
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201

               Re:     United States v. Sagar Singh
                       Criminal Docket No. 23-236 (FB)

Dear Judge Block:

                The government respectfully moves the Court to accept the defendant’s plea in the
above-captioned case. On June 17, 2024, the defendant Sagar Singh pleaded guilty before the
Honorable Marcia M. Henry, United States Magistrate Judge, to Counts One and Two of the
Indictment. See generally Plea Tr., attached hereto. The defendant allocuted that “In April or May
of 2022, [he] was sent login credentials to access a portal. Shortly after, [he] came to understand
that the portal was associated with a federal agency and [he] knew [he] wasn’t authorized to enter
it.” Id. at 32. Further, the defendant admitted that he shared the credential with other people and
understood they were going to use the credentials to gain access to the portal and its information.
Id. Finally, the defendant admitted that he logged in to the federal portal using the credentials. Id.
Judge Henry found the defendant “competent,” “acting voluntarily,” that “he fully understands his
rights and the potential consequences of his guilty plea,” and that there “is a factual basis for the
plea.” Id. at 35. Finally, Judge Henry “recommend[ed] that the Court accept the defendant’s
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plea of guilty to Counts One and Two of the indictment.” Id. Accordingly, by this letter, the
government respectfully requests that the Court accept the defendant’s guilty plea to Counts One
and Two of the Indictment.
                                                    Respectfully submitted,

                                                   BREON PEACE
                                                   United States Attorney

                                            By:              /s/
                                                   Alexander F. Mindlin
                                                   Ellen H. Sise
                                                   Adam Amir
                                                   Assistant U.S. Attorney
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Enclosure

cc:    Clerk of Court (by ECF) (FB)
       Counsel of Record (by ECF)
